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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                           Case No. 3:19cr104/MCR

DAVID C. WILLIAMS
_________________________________________________________________

                     REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Counts I through IV of the Indictment.

After cautioning and examining the Defendant under oath concerning each of the

subjects mentioned in Rule 11, I determined that the guilty plea was knowing and

voluntary, and that the offenses charged are supported by an independent basis in

fact containing each of the essential elements of such offenses.           I therefore

recommend that the plea of guilty be accepted and that the Defendant be adjudicated

guilty and have sentence imposed accordingly.

Dated:       November 14, 2019


                                 /s/ Elizabeth M. Timothy
                                 ELIZABETH M. TIMOTHY
                                 CHIEF UNITED STATES MAGISTRATE JUDGE
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                                      NOTICE

      Objections to these proposed findings and recommendations must be filed
within twenty four (24) hours after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court=s internal use only,
and does not control. A copy of objections shall be served upon all other parties. If
a party fails to object to the magistrate judge's findings or recommendations as to any
particular claim or issue contained in a report and recommendation, that party
waives the right to challenge on appeal the district court's order based on the
unobjected-to factual and legal conclusions. See 11th Cir. Rule 3-1; 28 U.S.C. ' 636.




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